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                    EXHIBIT F
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                                                                                                        US008432956B2


    (12)   United States Patent                                                     (10)   Patent No.:     US 8,432,956 B2
           Krinsky et al.                                                           (45)   Date of Patent:    *Apr. 30, 2013

    (54)   MULTICARRIER MODULATION                                             (56)                      References Cited
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    (75)   Inventors: David M. Krinsky, Acton, MA (US);                               4,385,384 A         5/1983 Rosbury et al.
                      Robert Edmund Pizzano, Jr.,                                                              (Continued)
                      Stoneham, MA (US)
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    (73)   Assignee: TQ Delta, LLC, Austin, TX (US)                            EP                    0889615                112009
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    ( *)   Notice:       Subject to any disclaimer, the term of this                                           (Continued)
                         patent is extended or adjusted under 35
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    (22)   Filed:        May 21, 2012                                                                          (Continued)

    (65)                    Prior Publication Data                             Primary Examiner - Khanh C Tran
                                                                               (74) Attorney, Agent, or Firm - Jason H. Vick; Sheridan
           US 2012/0230476 Al              Sep. 13,2012
                                                                               Ross, PC
                     Related U.S. Application Data
                                                                               (57)                        ABSTRACT
    (63)   Continuation of application No. 121779,660, filed on
           May 13, 2010, now Pat. No. 8,238,412, which is a                    Upon detection of a trigger, such as the exceeding of an error
           continuation of application No. 12/477,742, filed on                threshold or the direction of a user, a diagnostic link system
           Jun. 3, 2009, now Pat. No. 7,835,430, which is a                    enters a diagnostic information transmission mode. This
           continuation of application No. 10/619,691, filed on                diagnostic infonnation transmission mode allows for two
           Jul. 16, 2003, now Pat. No. 7,570,686, which is a                   modems to exchange diagnostic and/or test infonnation that
           continuation of application No. 091755,173, filed on                may not otherwise be exchangeable during normal commu-
           Jan. 8, 2001, now Pat. No. 6,658,052.                               nication. The diagnostic infonnation transmission mode is
                                                                               initiated by transmitting an initiate diagnostic link mode mes-
    (60)   Provisional application No. 60/224,308, filed on Aug.               sage to a receiving modem accompanied by a cyclic redun-
           10, 2000, provisional application No. 601174,865,                   dancy check (CRC). The receiving modem determines, based
           filed on Jan. 7, 2000.                                              on the CRC, if a robust communications channel is present. If
                                                                               a robust communications channel is present, the two modems
    (51)   Int. Cl.                                                            can initiate exchange of the diagnostic and/or test infonna-
           H04B 1/38                     (2006.01)                             tion. Otherwise, the transmission power of the transmitting
           H04L 12/26                    (2006.01)                             modem is increased and the initiate diagnostic link mode
    (52)   U.S. Cl.                                                            message re-transmitted to the receiving modem until the CRC
           USPC ........................................... 3751222; 370/252   is detennined to be correct.
    (58)   Field of Classification Search ........................ None
           See application file for complete search history.                                        10 Claims, 2 Drawing Sheets



                                                             200                                           300




                                                                                           POTS-R                      40
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                                                                                                            Phone
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         210          (ATU-C)                                                                      (ATU-R)         330                      :-:
                                            ;i/                                        fi/                                                  tH
         ;V                       Diagnostic                                     Message
                                                                                                                 ;V                         ~o
           CRC                   Information                                   Determination               Diagnostic                       N
                                                                                                                                            o
iO
I         Checker                 Monitoring             10             30        Device                    Device                     60   ....
                                                                                                                                            tH
                           5       Device              ;V      5      ;V                                                             /1/
\                     ;V                I                                                                                          User
I                                                 : Splitter       SPlitter:
                                                                                                                      340        Terminal   rFJ
                      220                                                                    320
                    ;V                                                                       ;V                     ;V                      =-
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         Diagnostic                                                               Power
                                                                                                            Diagnostic                      ....
                                                                                                           Information                      o
          Device                                                                  Control                                                   .....
                                                                                                             Storage                        N
                                                                                  Device
                                                                                                              Deivce

                            20      POTS-C                                      POTS-R                                      40
           Phone      I'                ;V                                       !II                         Phone
     I     Switch      I                                                                               I                                    d
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                              >--------~·Yes

                   ?

                             S130
                 Select
                             ;iI                                              Fig. 2
               Diagnostic          >-~~~-Yes;-----~
                 Mode                                            8170
                   ?
                                             Transmit Initiate Diagnostic
                                     ~~~~                                   ~-----~
                                                  Mode Message                                  Yes

                                                                 8180
                                                                 ;iI
                                                                 >-~~INo                 8190
                                                          ?        8200

                                                Determine Diagnostic          Re-transmit
                                                   Link Message                      ?
                       S140
                                            For Predetermined Number Of
                                    Yes
              Enter Normal                            Iterations
                                                                   8220
              Steady State
                  Data
                                              Transmit Diagnostic Link
              Transmission
                                                Message With CRC              8210
                                                                                  No



                             S150
                 Error
               Threshold
               Exceeded
                                                       Correct
                   ?                                      ?


                                                  ,---~----L~~---,     S250
                                                      Increase
                                                    Transmission
                                                       Power
                             8160
              ~~~~~f-----=============~--Yes~~~~
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            MULTICARRIER MODULATION                                          modems. One such modem is typically located at a customer
          MESSAGING FOR POWER LEVEL PER                                      premises such as a home or business and is "downstream"
             SUBCHANNEL INFORMATION                                          from a central office with which it communicates. The other
                                                                             modem is typically located at the central office and is
                 RELATED APPLICATION DATA                                    "upstream" from the customer premises. Consistent with
                                                                             industry practice, the modems are often referred to as "ATU-
      This application is a continuation of U.S. application Ser.            R" ("ADSL transceiver unit, remote," i.e., located at the cus-
   No. 121779,660, filed May 13,2010, now U.S. Pat. No. 8,238,               tomerpremises) and "ATU-C" ("ADSL transceiver unit, cen-
   412, which is a continuation of u.s. application Ser. No.                 tral office" i.e., located at the central office). Each modem
   12/477,742, filed Jun. 3, 2009, now U.S. Pat. No. 7,835,430,         10   includes a transmitter section for transmitting data and a
   which is a continuation of U.S. application Ser. No. 10/619,              receiver section for receiving data, and is of the discrete
   691, filed Jul. 16,2003, now U.S. Pat. No. 7,570,686, which               multitone type, i.e., the modem transmits data over a multi-
   is a continuation of u.s. application Ser. No. 091755,173,                plicity of sub channels of limited bandwidth. Typically, the
   filed Jan. 8, 2001, now U.S. Pat. No. 6,658,052, which claims             upstream or ATU -C modem transmits data to the downstream
   the benefit of and priority under 35 U.S.c. §119(e) to U.S.          15   or ATU-R modem over a first set of subchannels, which are
   Provisional Application No. 60/224,308, filed Aug. 10,2000                usually the higher-frequency subchannels, and receives data
   entitled "Characterization of transmission lines using broad-             from the downstream or ATU-R modem over a second, usu-
   band signals in a multi-carrier DSL system," and u.s. Provi-              ally smaller, set of subchannels, commonly the lower-fre-
   sional Application No. 601174,865, filed Jan. 7, 2000 entitled            quency subchannels. By establishing a diagnostic link mode
   "Multi carrier Modulation System with Remote Diagnostic              20   between the two modems, the systems and methods of this
   Transmission Mode", each of which are incorporated herein                 invention are able to exchange diagnostic and test informa-
   by reference in their entirety.                                           tion in a simple and robust manner.
                                                                                In the diagnostic link mode, the diagnostic and test infor-
                   FIELD OF THE INVENTION                                    mation is communicated using a signaling mechanism that
                                                                        25   has a very high immunity to noise and/or other disturbances
     This invention relates to test and diagnostic information. In           and can therefore operate effectively even in the case where
   particular, this invention relates to a robust system and                 the modems could not actually establish an acceptable con-
   method for communicating diagnostic information.                          nection in their normal operational mode.
                                                                                For example, if the ATU-C and/or ATU-R modem fail to
             BACKGROUND OF THE INVENTION                                30   complete an initialization sequence, and are thus unable to
                                                                             enter a normal steady state communications mode, where the
      The exchange of diagnostic and test information between                diagnostic and test information would normally be
   transceivers in a telecommunications environment is an                    exchanged, the modems according to the systems and meth-
   important part of a telecommunications, such as an ADSL,                  ods of this invention enter a robust diagnostic link mode.
   deployment. In cases where the transceiver connection is not         35   Alternatively, the diagnostic link mode can be entered auto-
   performing as expected, for example, where the data rate is               matically or manually, for example, at the direction of a user.
   low, where there are many bit errors, or the like, it is necessary        In the robust diagnostic link mode, the modems exchange the
   to collect diagnostic and test information from the remote                diagnostic and test information that is, for example, used by a
   transceiver. This is performed by dispatching a technician to             technician to determine the cause of a failure without the
   the remote site, e.g., a truck roll, which is time consuming and     40   technician having to physically visit, i.e., a truckroll to, the
   expensive.                                                                remote site to collect data.
      In DSL technology, communications over a local sub-                       The diagnostic and test information can include, for
   scriber loop between a central office and a subscriber pre-               example, but is not limited to, signal to noise ratio informa-
   mises is accomplished by modulating the data to be transmit-              tion, equalizer information, programmable gain setting infor-
   ted onto a multiplicity of discrete frequency carriers which         45   mation, bit allocation information, transmitted and received
   are snmmed together and then transmitted over the subscriber              power information, margin information, status and rate infor-
   loop. Individually, the carriers form discrete, non-overlap-              mation, telephone line condition information, such as the
   ping communication subchannels oflimited bandwidth. Col-                  length of the line, the number and location of bridged taps, a
   lectively, the carriers form what is effectively a broadband              wire gauge, or the like, or any other known or later developed
   communications channel. At the receiver end, the carriers are        50   diagnostic or test information that may be appropriate for the
   demodulated and the data recovered.                                       particular communications environment. For example, the
      DSL systems experience disturbances from other data ser-               exchanged diagnostic and test information can be directed
   vices on adjacent phone lines, such as, for example, ADSL,                toward specific limitations of the modems, to information
   HDSL, ISDN, T1, or the like. These disturbances may com-                  relating to the modem installation and deployment environ-
   mence after the subj ect ADSL service is already initiated and,      55   ment, or to other diagnostic and test information that can, for
   since DSL for internet access is envisioned as an always-on               example, be determined as needed which may aid in evaluat-
   service, the effect of these disturbances must be ameliorated             ing the cause of a specific failure or problem. Alternatively,
   by the subject ADSL transceiver.                                          the diagnostic and test information can include the loop
                                                                             length and bridged tap length estimations as discussed in U.S.
                SUMMARY OF THE INVENTION                                60   patent application Serial No. 091755,172, now U.S. Pat. No.
                                                                             6,865,221, filed herewith and incorporated herein by refer-
     The systems and methods of this invention are directed                  ence in its entirety.
   toward reliably exchanging diagnostic and test information                   For example, an exemplary embodiment of the invention
   between transceivers over a digital subscriber line in the                illustrates the use of the diagnostic link mode in the commu-
   presence of voice communications and/or other disturbances.          65   nication of diagnostic information from the remote terminal
   For simplicity of reference, the systems and methods of the               (RT) transceiver, e.g.,ATU-R, to the central office (CO) trans-
   invention will hereafter refer to the transceivers generically as         ceiver, e.g., ATU-C. Transmission of information from the
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   remote terminal to the central office is important since a               SEGUEI signal is generated from a carrier by 180 degree
   typical ADSL service provider is located in the central office           phase reversal of the REVERB I signal. Since both signals are
   and would therefore benefit from the ability to determine                wideband and known in advance, the receiver can easily
   problems at the remote tenninal without a truckroll. However,            detect the REVERB I and SEGUEI signal using a simple
   it is to be appreciated, that the systems and the methods of this        matched filter in the presence of large amounts of noise and
   invention will work equally well in communications from the              other disturbances.
   central office to the remote terminal.
       These and other features and advantages of this invention                                        TABLE I
   are described in or are apparent from the following detailed
   description of the embodiments.                                     10                       Exemplary Message Variables

                                                                                    Data Sent in !be Diag Link
          BRIEF DESCRIPTION OF THE DRAWINGS                                         Train Type
                                                                                    ADSL Standard
      The embodiments of the invention will be described in                         Chip Type
                                                                                    Vendor ID
   detail, with reference to the following figures wherein:            15
                                                                                    Code Version
      FIG. 1 is a functional block diagram illustrating an exem-                    Average Reverb Received Signal
   plary communications system according to this invention;                         Programmable gain amplifier (PGA) Gain - Training
   and                                                                              Programmable gain amplifier PGA Gain - Showtime
                                                                                    Filter Present during Idle Channel Calculation
      FIG. 2 is a flowchart outlining an exemplary method for                       Average Idle Channel Noise
   communicating diagnostic and test infonnation according to          20           Signal to Noise during Training
   this invention.                                                                  Signal to Noise during Showtime
                                                                                    Bits and Gains
                                                                                    Data Rate
       DETAILED DESCRIPTION OF THE INVENTION
                                                                                    Framing Mode
                                                                                    Margin
      For ease of illustration the following description will be       25           Reed-Solomon Coding Gain
   described in relation to the CO receiving diagnostic and test                    QAMUsage
                                                                                    Frequency Domain Equalizer (FDQ) Coefficients
   information from the RT. In the exemplary embodiment, the                        Gain Scale
   systems and methods of this invention complete a portion of                      Time domain equalizer (TDQ) Coefficients
   the nonnal modem initialization before entering into the diag-                   Digital Echo Canceller (DEC) Coefficients
   nostic link mode. The systems and methods of this invention         30
   can enter the diagnostic link mode manually, for example, at
                                                                               Table I shows an example of a data message that can be
   the direction of a technician or a user after completing a
                                                                            sent by the RT to the CO during the diagnostic link mode. In
   portion of initialization. Alternatively, the systems and meth-
   ods of this invention can enter the diagnostic link mode auto-           this example, the RT modem sends 23 different data variables
   matically based on, for example, a bit rate failure, a forward      35
                                                                            to the CO. Each data variable contains different items of
   error correction or a CRC error during showtime, e.g., the               diagnostic and test information that are used to analyze the
   nonnal steady state transmission mode, or the like. The tran-            condition of the link. The variables may contain more than
   sition into the diagnostic link mode is accomplished by trans-           one item of data. For example, the Average Reverb Signal
   mitting a message from the CO modem to the RT modem                      contains the power levels per tone, up to, for example, 256
   indicating that the modems are to enter into the diagnostic         40   entries, detected during theADSL Reverb signal. Conversely,
   link mode, as opposed to transitioning into the nonnal steady            the PGA Gain-Training is a single entry, denoting the gain
   state data transmission mode. Alternatively, the transition into         in dB at the receiver during the ADSL training.
   the diagnostic link mode is accomplished by transmitting a                  Many variables that represent the type of diagnostic and
   message from the RT modem to the CO modem indicating                     test information that are used to analyze the condition of the
   that the modems are to enter into the diagnostic link mode as       45   link are sent from the RT modem to the CO modem. These
   opposed to transitioning into the nonnal steady state data               variables can be, for example, arrays with different lengths
   transmission mode. For example, the transition signal uses an            depending on, for example, information in the initiate diag-
   ADSL state transition to transition from a standard ADSL                 nostic mode message. The systems and methods of this inven-
   state to a diagnostic link mode state.                                   tion can be tailored to contain many different diagnostic and
      In the diagnostic link mode, the RT modem sends diagnos-         50   test infonnation variables. Thus, the system is fully config-
   tic and test information in the form of a collection of infor-           urable, allowing subsets of data to be sent and additional data
   mati on bits to the CO modem that are, for example, modu-                variables to be added in the future. Therefore, the message
   lated by using one bit per DTM symbol modulation, as is used             length can be increased or decreased, and diagnostic and test
   in the C-Ratesl message in the ITU and ANSI ADSL stan-                   information customized, to support more or less variables as,
   dards, where the symbol may or may not include a cyclic             55   for example, hardware, the environment and/or the telecom-
   prefix. Other exemplary modulation techniques include Dif-               munications equipment dictates.
   ferential Phase Shift Keying (DPSK) on a subset or all the                  Therefore, it is to be appreciated, that in general the vari-
   carriers, as specified in, for example, ITU standard G.994.1,            ables transmitted from the modem being tested to the receiv-
   higher order QAM modulation (> I bit per carrier), or the like.          ing modem can be any combination of variables which allow
      In the one bit per DMT symbol modulation message                 60   for transmission of test and/or diagnostic infonnation.
   encoding scheme, a bit with value 0 is mapped to the                        FIG. 1 illustrates an exemplary embodiment of the addi-
   REVERB I signal and a bit with a value of I mapped to a                  tional modem components associated with the diagnostic link
   SEGUEI signal. The REVERBI and SEGUEI signals are                        mode. In particular, the diagnostic link system 100 comprises
   defined in the ITU and ANSI ADSL standards. The                          a central office modem 200 and a remote terminal modem
   REVERB I signal is generated by modulating all of the car-          65   300. The central office modem 200 comprises, in addition to
   riers in the multi carrier system with a known pseudo-random             the standardATU-C components, a CRC checker 210, a diag-
   sequence thus generating a wideband modulated signal. The                nostic device 220, and a diagnostic information monitoring
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                                   5                                                                        6
   device 230. The remote terminal modem 300 comprises, in                   in cooperation with the message detennination device 310,
   addition to the standard components associated with anATU-                determines a diagnostic link message to be forwarded to the
   R, a message detennination device 310, a power control                    central office 200. For example, the diagnostic link message
   device 320, a diagnostic device 330 and a diagnostic infor-               can include test infonnation that has been assembled during,
   mation storage device 340. The central office modem 200 and               for example, the nonnal ADSL initialization procedure. The
   the remote tenninal model 300 are also connected, via link 5,             diagnostic and/or test infonnation can include, but is not
   to a splitter 10 for a phone switch 20, and a splitter 30 for a           limited to, the version number of the diagnostic link mode, the
   phone 40. Alternatively, the ATU-R can operate without a                  length of the diagnostic and/or test information, the commu-
   splitter, e.g., splitterless, as specified in ITU standard G.992.2        nications standard, such as the ADSL standard, the chipset
   (G.lite) or with an in-line filter in series with the phone 40. In
                                                                        10   type, the vendor identifications, the ATU version number, the
   addition, the remote terminal modem 300, can also be con-
                                                                             time domain received reverb signal, the frequency domain
   nected to, for example, one or more user tenninals 60. Addi-
                                                                             reverb signal, the amplifier settings, the eo transmitter power
   tionally, the central office modem 200 can be connected to
   one or more distributed networks 50, via link 5, which mayor              spectral density, the frequency domain received idle channel,
   may not also be connected to one or more other distributed           15   the signal to noise ratio, the bits and gains and the upstream
   networks.                                                                 and downstream transmission rates, or the like.
      While the exemplary embodiment illustrated in FIG. 1                      If the initiate diagnostic link mode message is not received
   shows the diagnostic link system 100 for an embodiment in                 by the central office 200, the initiate diagnostic link mode
   which the remote tenninal modem 300 is communicating test                 message can, for example, be re-transmitted a predetermined
   and diagnostic information to the central office 200, it is to be    20   number of iterations until a detennination is made that it is not
   appreciated that the various components of the diagnostic link            possible to establish a connection.
   system can be rearranged such that the diagnostic and test                   Assuming the initiate diagnostic link mode message is
   information can be forwarded from the central office 200 to               received, then, for a predetennined number of iterations, the
   the remote terminal modem 300, or, alternatively, such that               diagnostic device 330, in cooperation with the remote tenni-
   both modems can send and receive diagnostic and/or test              25   nal modem 300 and the diagnostic infonnation storage device
   information. Furthermore, it is to be appreciated, that the               340, transmits the diagnostic link message with a cyclic
   components of the diagnostic link system 100 can be located               redundancy check (eRC) to the central office modem 200.
   at various locations within a distributed network, such as the            However, it is to be appreciated that in general, any error
   POTS network, or other comparable telecommunications net-                 detection scheme, such as bit error detection, can be used
   work. Thus, it should be appreciated that the components of          30   without affecting the operation of the system. The central
   the diagnostic link system 100 can be combined into one                   office 200, in cooperation with the eRe checker 210, deter-
   device for respectively transmitting, receiving, or transmit-             mines if the eRe is correct. If the eRe is correct, the diag-
   ting and receiving diagnostic and/or test information. As will            nostic information stored in the diagnostic information stor-
   be appreciated from the following description, and for rea-               age device 340 has been, with the cooperation of the
   sons of computational efficiency, the components of the diag-        35   diagnostic device 330, and the remote tenninal modem 300,
   nostic link system 100 can be arranged at any location within             forwarded to the central office 200 successfully.
   a telecommunications network and/or modem without affect-                    If, for example, the eRe checker 210 is unable to deter-
   ing the operation of the system.                                          mine the correct eRe, the diagnostic device 330, in coopera-
      The links 5 can be a wired or wireless link or any other               tion with power control device 320, increases the transmis-
   known or later developed element(s) that is capable of sup-          40   sion power of the remote terminal 300 and repeats the
   plying and communicating electronic data to and from the                  transmission of the diagnostic link message from the remote
   connected elements. Additionally, the user terminal 60 can                tenninal300 to the central office 200. This process continues
   be, for example, a personal computer or other device allowing             until the correct eRe is determined by the eRe checker 210.
   a user to interface with and communicate over a modem, such                  The maximum power level used for transmission of the
   as a DSL modem. Furthermore, the systems and method of               45   diagnostic link message can be specified by, for example, the
   this invention will work equally well with splitterless and               user or the ADSL service operator. If the eRe checker 210
   low-pass multi carrier modem technologies.                                does not determine a correct eRe at the maximum power
      In operation, the remote tenninal 300, commences its nor-              level and the diagnostic link mode can not be initiated then
   mal initialization sequence. The diagnostic device 330 moni-              other methods for detennining diagnostic information are
   tors the initialization sequence for a failure. If there is a        50   utilized, such as dispatching a technician to the remote site, or
   failure, the diagnostic device 330 initiates the diagnostic link          the like.
   mode. Alternatively, a user or, for example, a technician at the             Alternatively, the remote terminal 300, with or without an
   eo, can specifY that the remote terminal 300 enter into the               increase in the power level, can transmit the diagnostic link
   diagnostic link mode after completing a portion of an initial-            message several times, for example, 4 times. By transmitting
   ization. Alternatively still, the diagnostic device 330 can          55   the diagnostic link message several times, the eo modem 200
   monitor the nonnal steady state data transmission of the                  can use, for example, a diversity combining scheme to
   remote tenninal, and upon, for example, an error threshold                improve the probability of obtaining a correct eRe from the
   being exceeded, the diagnostic device 330 will initiate the               received diagnostic link message(s).
   diagnostic link mode.                                                        Alternatively, as previously discussed, the central office
      Upon initialization of the diagnostic link mode, the diag-        60   200 comprises a diagnostic infonnation monitoring device
   nostic device 330, in cooperation with the remote tenninal                230. The remote terminal 300 can also include a diagnostic
   300 will transmit an initiate diagnostic link mode message                information monitoring device. One or more of these diag-
   from the remote tenninal to the central office 200 (RT to eO).            nostic infonnation monitoring devices can monitor the nor-
   Alternatively, the central office modem 200 can transmit an               mal steady state data transmission between the remote tenni-
   initiate diagnostic link mode message to the remote tenninal         65   nal 300 and the central office 200. Upon, for example, the
   modem 300. If the initiate diagnostic link mode message is                normal steady state data transmission exceeded a predeter-
   received by the central office 200, the diagnostic device 330,            mined error threshold, the diagnostic infonnation monitoring
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                                 7                                                                      8
   device can initiate the diagnostic link mode with the coopera-         implementing the flowchart illustrated in FIG. 2 can be used
   tion of the diagnostic device 300 and/or the diagnostic device         to implement a diagnostic link system according to this inven-
   220.                                                                   tion.
      FIG. 2 illustrates an exemplary method for entering a diag-            Furthermore, the disclosed method may be readily imple-
   nostic link mode in accordance with this invention. In par-            mented in software using object or object-oriented software
   ticular, control begins in step S100 and continues to step             development environments that provide portable source code
   SHOo In step SHO, the initialization sequence is commenced.            that can be used on a variety of computer, workstation, or
   Next, in step S120, if an initialization failure is detected,          modem hardware platforms. Alternatively, the disclosed
   control continues to step S170. Otherwise, control jumps to            diagnostic link system may be implemented partially or fully
                                                                     10   in hardware using standard logic circuits or a VLSI design.
   step S130. In step S130, a determination is made whether the
                                                                          Other software or hardware can be used to implement the
   diagnostic link mode has been selected. If the diagnostic link
                                                                          systems in accordance with this invention depending on the
   mode has been selected, control continues to step S170, oth-
                                                                          speed and/or efficiency requirements of the systems, the par-
   erwise, control jumps to step S140.                                    ticular function, and a particular software or hardware sys-
      In step S170, the initiate diagnostic link mode message is     15   terns or microprocessor or microcomputer systems being uti-
   transmitted from, for example, the remote terminal to the              lized. The diagnostic link system and methods illustrated
   central office. Next, in step S180, a determination is made            herein however, can be readily implemented in hardware
   whether the initiate diagnostic mode message has been                  and/or software using any known or later developed systems
   received by the co. If the initiate diagnostic mode message            or structures, devices and/or software by those of ordinary
   has been received by the CO, control jumps to step S200.          20   skill in the applicable art from the functional description
   Otherwise, control continues to step S190. In step S190, a             provided herein and with a general basic knowledge of the
   determination is made whether to re-transmit the initiate              computer and telecommunications arts.
   diagnostic mode message, for example, based on whether a                  Moreover, the disclosed methods can be readily imple-
   predetermined number of iterations have already been com-              mented as software executed on a programmed general pur-
   pleted. If the initiate diagnostic mode message is to be re-      25   pose computer, a special purpose computer, a microproces-
   transmitted, control continues back to step S170. Otherwise,           sor, or the like. In these instances, the methods and systems of
   control jumps to step S160.                                            this invention can be implemented as a program embedded on
      In step S200, the diagnostic link message is determined, for        a modem, such a DSL modem, as a resource residing on a
   example, by assembling test and diagnostic information                 personal computer, as a routine embedded in a dedicated
   about one or more of the local loop, the modem itself, the        30   diagnostic link system, a central office, or the like. The diag-
   telephone network at the remote terminal, or the like. Next, in        nostic link system can also be implemented by physically
   step S210, for a predetermined number of iterations, steps             incorporating the system and method into a software and/or
   S220-S240 are completed. In particular, in step S220 a diag-           hardware system, such as a hardware and software systems of
   nostic link message comprising a CRC is transmitted to, for            a modem, a general purpose computer, anADSL line testing
   example, the co. Next, in step S230, the CRC is determined.       35   device, or the like.
   Then, in step S240, a determination is made whether the CRC               It is, therefore, apparent that there is provided in accor-
   is correct. If the CRC is correct, the test and/or diagnostic          dance with the present invention, systems and methods for
   information has been successfully communicated and control             transmitting a diagnostic link message. While this invention
   continues to step S160.                                                has been described in conjunction with a number of embodi-
      Otherwise, if step S210 has completed the predetermined        40   ments, it is evident that many alternatives, modifications and
   number of iterations, control continues to step S250. In step          variations would be or are apparent to those of ordinary skill
   S250, the transmission power is increased and control con-             in the applicable arts. Accordingly, applicants intend to
   tinues back to step S210. Alternatively, as previously dis-            embrace all such alternatives, modifications, equivalents and
   cussed, the diagnostic link message may be transmitted a               variations that are within the spirit and the scope of this
   predetermined number of times, with our without a change in       45   invention.
   the transmission power.                                                   What is claimed is:
      In step S140, the normal steady state data transmission is             1. A transceiver capable of transmitting diagnostic infor-
   entered into between two modems, such as the remote termi-             mation over a communication channel using multi carrier
   na and the central office modems. Next, in step S150, a               modulation comprising:
   determination is made whether an error threshold during the       50      a transmitter portion capable of transmitting a message,
   normal steady state data transmission has been exceeded. If                  wherein the message comprises one or more data vari-
   the error threshold has been exceeded, control continues to                  ables that represent the diagnostic information, wherein
   step S170. Otherwise, control jumps to step S160. In step                    bits in the message are modulated onto DMT symbols
   S160, the control sequence ends.                                             using Quadrature Amplitude Modulation (QAM) with
      As shown in FIG. 1, the diagnostic link mode system can be     55         more than 1 bit per sub channel and wherein at least one
   implemented either on a single program general purpose                       data variable of the one or more data variables comprises
   computer, a modem, such as a DSL modem, or a separate                        an array representing power level per subchannel infor-
   program general purpose computer having a communications                     mation.
   device. However, the diagnostic link system can also be                   2. The transceiver of claim 1, wherein the power level per
   implemented on a special purpose computer, a programmed           60   sub channel information is based on a Reverb signal.
   microprocessor or micro controller and peripheral integrated              3. A transceiver capable of receiving diagnostic informa-
   circuit element, an ASIC or other integrated circuit, a digital        tion over a communication channel using multicarrier modu-
   signal processor, a hardwired electronic or logic circuit such         lation comprising:
   as a discrete element circuit, a programmed logic device such             a receiver portion capable of receiving a message, wherein
   as a PLD, PLA, FPGA, PAL, or the like, and associated             65         the message comprises one or more data variables that
   communications equipment. In general, any device capable                     represent the diagnostic information, wherein bits in the
   of implementing a finite state machine that is capable of                    message were modulated onto DMT symbols using
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                                  9                                                                      10
         Quadrature Amplitude Modulation (QAM) with more                      8. The method of claim 7, wherein the power level per
         than 1 bit per sub channel and wherein at least one data          sub channel information is based on a Reverb signal.
         variable of the one or more data variables comprises an              9. A commnnications system for DSL service comprising a
         array representing power level per sub channel informa-           first DSL transceiver capable of transmitting diagnostic infor-
         tion.                                                             mation over a communication channel using multi carrier
      4. The transceiver of claim 3, wherein the power level per           modulation and a second DSL transceiver capable of receiv-
   sub channel information is based on a Reverb signal.                    ing the diagnostic information over the communication chan-
      5. In a transceiver capable of transmitting diagnostic infor-        nel using multicarrier modulation comprising:
   mation over a communication channel using multi carrier                    a transmitter portion of the first transceiver capable of
   modulation, a method comprising:                                   10         transmitting a message, wherein the message comprises
      transmitting a message, wherein the message comprises                      one or more data variables that represent the diagnostic
         one or more data variables that represent the diagnostic                information, wherein bits in the message are modulated
         information, wherein bits in the message are modulated                  onto DMT symbols using Quadrature Amplitude Modu-
         onto DMT symbols using Quadrature Amplitude Modu-                       lation (QAM) with more than 1 bit per sub channel and
         lation (QAM) with more than 1 bit per sub channel and        15
                                                                                 wherein at least one data variable of the one or more data
         wherein at least one data variable of the one or more data              variables comprises an array representing Signal to
         variables comprises an array representing power level                   Noise ratio per subchannel during Showtime informa-
         per sub channel information.                                            tion; and
      6. The method of claim 5, wherein the power level per                   a receiver portion of the second transceiver capable of
   sub channel information is based on a Reverb signal.               20
                                                                                 receiving the message, wherein the message comprises
      7. In a transceiver capable of receiving diagnostic informa-               the one or more data variables that represent the diag-
   tion over a commnnication channel using multicarrier modu-                    nostic information, wherein the bits in the message were
   lation, a method comprising:                                                  modulated onto the DMT symbols using Quadrature
      receiving a message, wherein the message comprises one                     Amplitude Modulation (QAM) with more than 1 bit per
         or more data variables that represent the diagnostic         25
                                                                                 sub channel and wherein the at least one data variable of
         information, wherein bits in the message were modu-                     the one or more data variables comprises the array rep-
         lated onto DMT symbols using Quadrature Amplitude                       resenting Signal to Noise ratio per sub channel during
         Modulation (QAM) with more than 1 bit per sub channel                   Showtime information.
         and wherein at least one data variable of the one or more            10. The system of claim 9, wherein the DSL service is for
         data variables comprises an array representing power         30
                                                                           internet access.
         level per sub channel information.                                                       * * * * *
